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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 23-21377-Civ-GAYLES/TORRES


  DONALD J. TRUMP,

        Plaintiff,

  v.

  MICHAEL D. COHEN,

        Defendant.

  _____________________________________/


                     ORDER ENTERING PROTECTIVE ORDER

        This matter is before the Court in connection with discovery proceedings in the

  case where the scope and manner of discovery have been addressed by counsel and

  the Court. The case involves a lawsuit filed by Former President Donald Trump

  (Plaintiff) against his former lawyer, Michael D. Cohen (“Defendant”), for breach of

  fiduciary duties by Defendant in connection with various media publications relating

  to his work for and knowledge of Plaintiff. Specifically, the operative complaint seeks

  substantial money damages for the reputational harm suffered by Plaintiff due to

  Defendant “both revealing Plaintiff’s confidences and spreading falsehoods about

  Plaintiff with malicious intent and to wholly self-serving ends.” [D.E. 1 ¶3]. Due to

  the very public nature of the Plaintiff and the type of allegations involved in this

  Complaint, Plaintiff is seeking Rule 26(c) protection against the misuse of discovery

  in the case while Defendant is insisting that any such protection not quash
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  Defendant’s first amendment right to defend himself against these allegations and

  discuss legal proceedings that are being litigated in a public forum.

                            I.    APPLICABLE PRINCIPLES

           Pursuant to the Local Rules of the Southern District of Florida, “[u]nless

  otherwise provided by law, Court rule, or Court order, proceedings in the United

  States District Court are public and Court filings are matters of public record.” S.D.

  Fla. L. R. 5.4(a). The general public possesses a common-law right to access judicial

  records, and judicial records are presumed to be public documents. See Nixon v.

  Warner Commmunications, Inc., 435 U.S. 589, 597 (1978); Chicago Tribune Co. v.

  Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001). Well established

  Eleventh Circuit caselaw protects this common-law right because “[o]nce a matter is

  brought before a court for resolution, it is no longer solely the parties’ case, but also

  the public’s case.” Brown v. Advantage Eng'g, Inc., 960 F.2d 1013, 1016 (11th Cir.

  1992).

           When it comes to discovery materials, however, the scope of the public’s right

  of access can be reasonably curtailed under Rule 26(c).          “[M]aterial filed with

  discovery motions is not subject to the common-law right of access, whereas discovery

  material filed in connection with pretrial motions that require judicial resolution of

  the merits is subject to the common-law right . . . .” Chicago Tribune, 263 F.3d at

  1312. This policy is reflected in Rule 26(c)(1) that confers on the Court the power “for

  good cause, [to] issue an order to protect a party or person from annoyance,

  embarrassment, oppression, or undue burden or expense . . . .”
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         In balancing these competing interests, the Eleventh Circuit has employed a

  four factor test to determine if “good cause” exists to invoke the Rule. See In re

  Alexander Grant & Co. Litig., 820 F.2d 352 (11th Cir. 1987). The four factors include

  the following: “[1] the severity and the likelihood of the perceived harm; [2] the

  precision with which the order is drawn; [3] the availability of a less onerous

  alternative; and [4] the duration of the order.” Id. at 356. Additionally, the Eleventh

  Circuit has “superimposed a ‘balancing of interests’ approach to Rule 26(c).” Id. (citing

  Farnsworth v. Procter & Gamble Co., 758 F.2d 1545, 1547 (11th Cir. 1985)). Finally,

  the burden of persuasion to demonstrate good cause is on the party moving for a

  protective order. See Corcel Corp. v. Ferguson Enter., Inc., 291 F.R.D. 680, 681 (S.D.

  Fla. 2013) (citing Cipollone v. Liggett Group, Inc., 785 F.2d 1108, 1122 (3rd Cir.

  1986)).

         Upon reviewing the parties’ arguments in this matter, which were presented

  at two discovery hearings before the Court, the Court grants in part Plaintiff’s request

  for a Rule 26 protective order to govern discovery in the case. Plaintiff has shown

  good cause for entry of a limited protective order, but the Court will not curtail any

  party’s free speech rights in the process because good cause has not been shown for

  such relief in this case.

                       II.    TERMS OF PROTECTIVE ORDER

         1. Designation of Confidential Information

         Any Party to this lawsuit and any individual or entity later named as a plaintiff

  or defendant in this lawsuit (“Party” or collectively “Parties”), may designate as
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  “Confidential –Privileged” any information (regardless of form) produced or furnished

  in this case that the designating party in good faith, pursuant to applicable law,

  believes to be covered by attorney-client privilege or any other recognized legal

  privilege enforceable under Fed. R. Evid. 501. Any such designation, however, may

  be challenged by the receiving party as described in Paragraph 8.1

        Any Party may also designate as “Confidential” any financial or proprietary

  information (regardless of form) produced or furnished in this case that is neither

  generally known to others nor publicly available in any form and that the designating

  party in good faith believes is necessary under Rule 26(c)(1) to protect the designating

  party from “annoyance, embarrassment, oppression, or undue burden or expense.”

  Any such designation, however, may be challenged by the receiving party as described

  in Paragraph 12.

        Each Party shall designate the information considered “Confidential –

  Privileged” or “Confidential,” as applicable, by affixing the words (“Confidential –

  Privileged” or “Confidential”) to each page of a document that contains “Confidential

  Information.” In the case of an interrogatory response, the portion of the response

  that contains “Confidential Information” shall be so designated. All information

  designated as “Confidential – Privileged” shall be segregated and produced




        1 This designation is required due to the potential admissibility and relevance

  of otherwise privileged documents in the action. To the extent any privilege claim is
  made to documents that falls outside this scope, such that they should not be
  produced at all, the producing party must then strictly comply with Local Rule 26.1(e)
  and serve a fully completed privilege log.
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  separately from all other documents and information and be clearly identified as

  such. Any Party’s counsel who receives a production that is not titled or identified as

  consisting of “Confidential – Privileged” material may rely on the absence of such title

  or identification in determining how the production may be shared consistent with

  this Order.

        No party may designate in wholesale fashion all discovery exchanged in the

  action as being Confidential.    Only discovery that falls within the scope of this

  Protective Order may be designated as such.

        2. Protection of Confidentiality

        The “Confidential Information,” and any materials, notes, summaries,

  memoranda, exhibits, or other documents that include or describe “Confidential

  Information,” shall be retained by counsel for the Party to whom disclosure of the

  “Confidential Information” was made (the “Receiving Party”) and, except as provided

  in this Order, shall not be disclosed to any person or entity without express Order of

  the Court, or otherwise be used by counsel or any party for any purpose other than

  the prosecution or defense of this action. Persons to whom access to “Confidential

  Information” is given pursuant to this Order shall keep such information, and any

  copies, abstracts, or summaries of such information, confidential and secure in

  accordance with the purposes and intent of this Order.

        Further, all discovery materials, such as transcripts of depositions, exhibits,

  answers to interrogatories, copies thereof, other documents including documents or

  information obtained per a duly issued subpoena or other discovery request, and all
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  other information otherwise obtained by counsel for any Party pursuant to discovery

  in this case, which materials are designated “Confidential – Privileged” or

  “Confidential” are subject to the restrictions in this Order.

        Confidential information may be disclosed by counsel for the receiving Party

  to: (i) the lawyers charged with the responsibility for, or actively engaged in, the

  litigation of this case, as well as their employees and staff to whom it is reasonably

  necessary to disclose information for purposes of this case; (ii) any litigation assistant

  or paralegal employed by and assisting counsel, and stenographic, secretarial or

  clerical personnel employed by and assisting counsel in this case; (iii) any outside

  expert retained by the receiving Party to assist that Party’s counsel in the litigation

  of this case or who is expected to testify in this case; (iv) any litigation assistant,

  paralegal, stenographic, secretarial, or other personnel employed by an expert to

  assist the expert in this case; (v) any court reporter or typist recording or transcribing

  testimony for use in the action (vi) any person designated by mutual agreement of

  the Parties, including mediators, or by the Court in the interest of justice, upon such

  terms as the Court may deem proper; (vii) any court personnel, including

  stenographic, secretarial and clerical personnel; (vii) the Parties to this case and the

  officers and employees of the Parties whose assistance is necessary in the prosecution

  or defense of this case; and (ix) any person associated with an individual or entity

  retained by counsel for the purposes of assisting with the prosecution or defense of

  this case, including,     but not limited to, companies specializing in ESI
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  retention/analysis, third-party document review companies, or other businesses

  offering services related to the litigation of this matter.

        Materials designated as purely “Confidential” (i.e. not Confidential –

  Privileged) may also be disclosed to any person who may testify as a witness either

  at a deposition or court proceeding in this action, including for the purpose of

  assisting the preparation or examination of the witness.

        The disclosure of materials designated as “Confidential – Privileged” shall be

  strictly limited to only those portions of the document or material that are necessary

  for the legitimate purposes identified above. Copies of any such designated materials

  shall not be distributed, disbursed, or disseminated by any electronic means to

  anyone who is not counsel of record for the Receiving party. Physical copies of any

  such designated materials shall otherwise be strictly controlled and segregated

  within the offices of the party’s counsel and will be retrieved after use. The intent of

  this Order is to restrict the dissemination of such privileged documents to prevent

  unauthorized disclosure in violation of this Order without requiring counsel to

  maintain such materials on an attorneys-eyes only basis. If communications about

  the Privileged materials are required to a party or an expert, for instance, this Order

  does not preclude such communications but restricts the manner in which the

  communications are undertaken and protects against prohibited or unintended

  disclosure of the Privileged materials.

        The disclosure of any Confidential Information to any permitted party, entity

  or person identified above shall be accompanied with a copy of this Protective Order
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  to assure the receiving party’s notice and acknowledgement to be bound by the terms

  of the Order.

        3. Filings with the Court

        Subject to the requirements of Local Rule 5.4, if any Party intends to file with

  the Court any pleading, interrogatory answer, affidavit, motion, brief, or other paper

  containing,     appending,   summarizing,    excerpting   or   otherwise   embodying

  Confidential Information, the Party, after compliance with Local Rule 7.1(a)(3), shall

  move to have the Confidential Information filed under seal in accordance with the

  applicable federal and local rules. Good cause for the filing of the material on the

  docket must be demonstrated in the motion. Counsel for the Parties shall work

  together in a good faith effort to resolve any and all disputes concerning the

  designation of documents as “Confidential – Privileged” and/or “Confidential”

  (including discussion about the possible removal of such designation) before filing any

  motion to file such documents under seal.

        If any sealed filings are required, redacted versions of the materials must be

  filed on the public docket that strictly redact the Confidential Information.

        4. Voluntary Waiver

        At any time after any information, document, or deposition testimony is

  designated as containing “Confidential Information” under the terms of this Order,

  the designating Party or may stipulate in writing that the “Confidential Information”

  may be disclosed.
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          5. Confidential Material Produced in Other Litigation

          Nothing in this Order shall prevent any Party from producing any document

  or information in that Party’s possession in response to a lawful subpoena or other

  compulsory processes; provided that notice shall be given to other Parties at least ten

  (10) business days prior to the return date of the subpoena or other compulsory

  process; or if the subpoena or other compulsory process has a return date of less than

  ten (10) business days, notice shall be given to other Parties in writing or by telephone

  as soon as possible, but in no event later than forty-eight (48) hours prior to the return

  date.

          6. Disposition on Termination of this Case

          Within sixty calendar days after the final termination of this case and unless

  the Parties agree otherwise, upon written demand of the producing Party, each Party

  shall at the disclosing party’s election: (a) assemble and make available for return to

  the designating Party all materials, documents, and transcripts containing

  “Confidential Information,” including all copies thereof; or (b) destroy all

  “Confidential Information.” Notwithstanding this provision, counsel are entitled to

  retain an archival copy of all pleadings, motion papers, transcripts, legal memoranda,

  correspondence or attorney work product (including exhibits, deposition exhibits, and

  trial exhibits), even if such material contains “Confidential Information.” Any such

  archival copies that contain or constitute “Confidential Information” shall remain

  subject to the terms of this Order.
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         7. Provision to Seek Court Order

         This Order is without prejudice to the right of any interested Party to apply to

   the Court for an order permitting disclosure of any “Confidential Information,” or to

   apply for an order modifying or limiting this Order in any respect.

         8. Objections to Designations

         A Party who contends that documents designated as “Confidential –

   Privileged” or as “Confidential” are not in fact warranting of protection under this

   Order may object to the designation by giving written notice to counsel for the Party

   making the designation. The objection must identify the designated material it

   contends is not protected and state the reasons supporting the objection. The Parties

   shall attempt in good faith to resolve any such dispute informally. If the Parties

   cannot informally resolve the dispute within ten (10) calendar days of the objection,

   then it shall be the obligation of the objecting Party to seek a determination from the

   Court whether the disputed information is protected.

         Notwithstanding any such objection, all material previously designated

   “Confidential – Privilege” or “Confidential” shall continue to be treated as subject to

   the full protections of this Order until (1) the designating Party withdraws its

   designation in writing; or (2) the Court rules that the information identified is not

   protected under this Order.
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         9. Violation of Agreement

         In the event of a violation or threatened violation of any of the terms of the

   Order, the Parties may immediately apply to obtain Rule 37 relief against any such

   violation or threatened violation of the Order.

         10. Persons Bound

         This Order shall be binding upon all counsel of record, and their law firms, the

   Parties and persons made subject to the Order by its terms.

         DONE AND ORDERED in Chambers at Miami, Florida this 30th day of

   August, 2023.

                                                       /s/ Edwin G. Torres
                                                       EDWIN G. TORRES
                                                       United States Magistrate Judge
